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 5

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   United States of America
 7

 8                                IN THE UNITED STATES DISTRICT COURT

 9                                   EASTERN DISTRICT OF CALIFORNIA

10

11   UNITED STATES OF AMERICA,                               CASE NO. 2:17-CR-064-7 JAM
12                                    Plaintiff,
                                                             STIPULATION AND PROTECTIVE
13   v.                                                      ORDER BETWEEN THE PARTIES
                                                             REGARDING DISCOVERY
14   GARY ROBERTS,
15                                    Defendant.
16

17                                                 STIPULATION

18            Plaintiff United States of America, by and through its counsel of record, and defendant

19 GARY ROBERTS, by and through his counsel of record, hereby stipulate as follows:

20            1.      This Court may enter protective orders pursuant to Rule 16(d) of the Federal Rules of

21 Criminal Procedure, and its general supervisory authority.

22            2.      This Stipulation and Order pertains to the Mobile Video Audio Recording System

23 discovery provided to or made available to Defense Counsel as part of discovery in this case

24 (hereafter, collectively known as “the discovery”).

25            3.      Defense counsel shall not disclose any of the discovery to any person other than his

26 respective defendant/client; witnesses that he is interviewing or preparing for trial; or attorneys, law

27 clerks, paralegals, secretaries, experts, and investigators involved in the representation of the

28 defendant in connection to this criminal case.
                                                         1
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 1          4.      The discovery and information therein may only be used in connection with the

 2 litigation of this case and for no other purpose. The discovery is now and will forever remain the

 3 property of the United States Government. Defense counsel will return the discovery or certify that

 4 it has been shredded at the conclusion of the case and defense counsel’s document retention

 5 obligations.

 6          5.      In the event that the defendant obtains substitute counsel, undersigned defense

 7 counsel agrees to return all discovery provided under this order to government counsel, in order that

 8 the government may arrange for substituted counsel to sign the order and the reissuance of the

 9 discovery to new counsel.

10          6.      Defense counsel will store the discovery in a secure place and will use reasonable

11 care to ensure that it is not disclosed to third persons in violation of this agreement.

12          7.       If defense counsel makes, or causes to be made, any further copies of any of the

13 discovery, defense counsel will inscribe the following notation on each copy or incorporate onto

14 electronic files (efiles): “U.S. Government Property; May Not Be Disseminated Without U.S.

15 Government Permission.”

16          8.      If defense counsel releases custody of any of the discovery, or authorized copies

17 thereof, to any person described in paragraph three, defense counsel shall provide such recipients

18 with copies of this Order and advise that person that the discovery is the property of the United

19 States Government, that the discovery and information therein may only be used in connection with

20 the litigation of this case and for no other purpose, and that an unauthorized use of the discovery

21 may constitute a violation of law and/or contempt of court.

22          9.      Defense counsel shall advise government counsel of any subpoenas, document

23 requests or claims for access to the discovery by third parties in order that the government may take

24 action to resist or comply with such demands as it may deem appropriate.

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 1         10.     Defense counsel shall be responsible for advising his respective defendant, employees

 2 and other members of the defense team, and defense witnesses of the contents of this

 3 Stipulation/Order.

 4 IT IS SO STIPULATED.

 5
     DATED: January 12, 2018
 6

 7                                         /s/ Amanda Beck________________
                                           AMANDA BECK
 8                                         Assistant United States Attorney
 9
     DATED: January 12, 2018
10
                                           /s/ ETAN ZAITSU      ____________
11                                         ETAN ZAITSU
                                           Counsel for Defendant ROBERTS
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15                                                   ORDER
16
           IT IS SO FOUND AND ORDERED this 12th day of January, 2018.
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